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                        UNITED STATES DISTRICT COURT
                                           District of Minnesota



Telescope Media Group, Carl Larsen, Angel               JUDGMENT IN A CIVIL CASE
Larsen
                                     Plaintiffs,
v.                                                            Case Number: 16-cv-4094 (JRT/LIB)
Kevin Lindsey, Attorney General Lori
Swanson, Rebecca Lucero, Keith Ellison

                                     Defendants.


     Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
      and the jury has rendered its verdict.

     Decision by Court. This action came to trial or hearing before the Court. The issues have
     been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

     1.   Defendants may not enforce Minnesota Statutes §§ 363A.11, subd. 1 and 363A.17, subd.

                                                              ly heterosexual wedding videos and the

     accompanying contractually mandated public promotion of those videos.

     2.   This preliminary injunction shall remain in effect until further order of this Court.




      Date: 11/5/2019                                           KATE M. FOGARTY, CLERK

                                                                       s/M. Brigan
                                                           (By) M. Brigan, Deputy Clerk
